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                                                     Page 1                                                      Page 3
 1       IN THE UNITED STATES DISTRICT COURT                   1 APPEARANCES: (all appearing virtually)
                                                               2       Mr. Max A. Stein
           NORTHERN DISTRICT OF ILLINOIS                               Boodell & Domanskis
 2             EASTERN DIVISION                                3       1 North Franklin
                                                                       Suite 1200
 3   SEC,                  )                                   4       Chicago, Illinois 60606
                       )                                               312.938.4070
 4           Plaintiff, )                                      5       mstein@boodlaw.com
                                                                         on behalf of certain investors;
                       )                                       6
 5     vs.               )No. 18-cv-5587                               Mr. Jerome F. Crotty
                       )                                       7       Rieck & Crotty, P.C.
                                                                       55 West Monroe Street
 6   EQUITYBUILD, INC., et al., )                              8       Suite 3625
                       )                                               Chicago, Illinois 60603
                                                               9       312.726.4646
 7           Defendants. )                                             jcrotty@rieckcrotty.com
 8                                                            10         on behalf of LMJ Sales, Kirk Road
 9          The virtual deposition of KASTURI BAGCHI,                    Investments and Leroy and Martha
                                                              11         Johnson;
10   taken pursuant to subpoena in accordance with the        12       Mr. Mark Stern
11   Federal Rules of Civil Procedure of the United                    Honigman LLP
12   States District Courts pertaining to the taking of       13       2290 First National Building
                                                                       660 Woodward Avenue
13   depositions, taken before MARYBETH ROESSLER,         CSR,14       Detroit, MI 48226-3506
14   RPR, CSR License No. 084-002864, a notary public                  313.465.7568
                                                              15       mstern@honigman.com
15   within and for the County of Will and State of                      on behalf of the deponent.
16   Illinois, taken on Monday, October 25, 2021,             16
17   commencing at about the hour of 10:10 a.m.               17   Also Present: (all appearing virtually)
                                                              18       Mr. Robert Jennings
18                                                                     Mr. Sam Gerber
19                                                            19       Mr. Sidney Haggins
                                                                       Ms. Valentina Salge
20                                                            20       Stan (no last name given)
21                                                                     Susan (no last name given)
22                                                            21
                                                              22
23                                                            23
24                                                            24

                                                     Page 2                                                      Page 4
 1 APPEARANCES: (all appearing virtually)                        1
 2      Ms. Alyssa A. Qualls
        Mr. Benjamin Hanauer                                                    INDEX
 3      U.S. Securities and Exchange                             2
        Commission
 4      175 West Jackson Boulevard
                                                                 3 WITNESS                  PAGE
        Suite 1450                                               4 KASTURI BAGCHI
 5      Chicago, Illinois 60604                                  5   Examination
        312.886.2542
 6      quallsa@sec.gov                                                  By Mr. Porter       5
        hanauerb@sec.gov                                         6
 7        on behalf of U.S. Securities &
          Exchange Commission;
                                                                     Examination
 8                                                               7       By Mr. Stein    54
        Mr. Andrew Porter                                        8   Examination
 9      Porter Law Firm
        853 North Elston Avenue                                          By Ms. Qualls    77
10      Chicago, Illinois 60642                                  9
        312.433.0568
11      andrew@andrewporterlaw.com.                                  Further Examination
              and                                               10       By Mr. Stein       84
12      Ms. Jodi Rosen Wine
        Rachlis Duff & Peel, LLC.
                                                                11   Further Examination
13      542 South Dearborn                                               By Ms. Qualls    89
        Suite 900                                               12
14      Chicago, Illinois 60605
        312.275.5108                                               BAGCHI EXHIBITS             PAGE
15        on behalf of Kevin B. Duff, Federal                   13
          Equity Receiver for the Estate of
16        EquityBuild, Inc., etc.
                                                                   No. 1                  7
17      Mr. Todd Gale                                           14
        Dykema                                                  15
18      10 South Wacker Drive
        Suite 2300                                              16
19      Chicago, Illinois 60606                                 17
        312.627.2173
20      tgale@dykema.com
                                                                18
              and                                               19
21      Mr. David E. Hart                                       20
        Maddin, Hauser, Roth & Heller, P.C.
22      28400 Northwestern Highway, 2nd Floor                   21
        Southfield, Michigan 48034                              22
23      248.827.1884
        dhart@maddinhauser.com.
                                                                23
24       on behalf of BC57;                                     24

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 1                (Driver's license shown.)                    1       Q Do you recall EquityBuild?
 2                (Witness virtually duly sworn.)              2       A Yes -- yes. I mean the name, yes.
 3                 KASTURI BAGCHI,                             3       Q Okay. And were you the client relations
 4   called as a witness herein, having been virtually         4   partner for Bloomfield Capital?
 5   first duly sworn, was examined and testified as           5       A I was probably one of them.
 6   follows:                                                  6       Q How many deals have you handled for
 7                  EXAMINATION                                7   Bloomfield Capital up to this point, do you know?
 8       By Mr. Porter:                                        8       A I'm assuming maybe I closed 10 a year
 9       Q Could you please state your name for the            9   for them at least, and probably let's say 70 deals.
10   record.                                                  10              (A document was marked Bagchi
11       A Kasturi Bagchi.                                    11               Exhibit No. 1 for
12       Q Ms. Bagchi, my name is Andrew Porter.              12               identification.)
13   I'm going to be asking you some questions today, as      13       By Mr. Porter:
14   you probably know. I'm going to dispense with a          14       Q Directing your attention to what should
15   lot of the background information and just go            15   be on my screen right now, it is an email from Matt
16   straight to the nugget, because there are other          16   Turzewski. Am I pronouncing that correctly?
17   people here who are going to want to ask you some        17       A Uh-huh, Turzewski.
18   questions as well.                                       18       Q Okay. It is an email that you received
19            So if you have any question about the           19   on or about August 31, 2017.
20   way I phrased the question or it's ambiguous to you      20          Do you recognize this email?
21   or you don't understand, you should absolutely feel      21       A I don't remember it, but okay, yes. I
22   free to ask me to rephrase the question.                 22   mean, it looks like it was sent to me.
23       MR. STERN: Mr. Porter, I apologize for               23       Q Okay. It looks like Matt Turzewski is
24   interrupting. Can you please tell us who you             24   copying Tyler DeRoo, some of the due diligence
                                                     Page 6                                                     Page 8
 1   represent?                                          1         items associated with the loan, --
 2       MR. PORTER: I represent the receiver, Kevin     2             A Uh-huh.
 3   Duff.                                               3             Q -- would you agree with that?
 4       MR. STERN: Thank you.                           4             A Yes.
 5       By Mr. Porter:                                  5             Q This is a list of items that Bloomfield
 6       Q Ms. Bagchi, back in August and September 6              Capital needs. One of them is, for instance,
 7   of 2017 you were working for a different law firm;  7         historical financials.
 8   is that correct?                                    8                 Do you see that?
 9       A Yes.                                          9             A Yes.
10       Q Which firm was that?                         10             Q Did you ever review any of the
11       A Honigman.                                    11         financials associated with EquityBuild's ownership
12               (Reporter interruption.)               12         of the properties subsumed within the refinance?
13       THE WITNESS: Honigman.                         13             A No.
14       MR. PORTER: Honigman Miller. It's a local      14             Q Did you ever review any of the rent
15   area law firm.                                     15         rolls.
16       By Mr. Porter:                                 16             A I believe rent rolls are attached to a
17       Q And around late August of 2017 you were 17              certificate, so I probably would have seen them.
18   called in to assist with a refinancing by          18             Q All right. Now, this is an email that
19   Bloomfield Capital of a portfolio of properties    19         was forwarded off an email that you originated on
20   then owned by EquityBuild; is that correct?        20         August 30th of 2017.
21       A Yes.                                         21                 Do you see that?
22       Q Do you recall anything about that            22             A Uh-huh.
23   transaction?                                       23             MR. STERN: Say yes.
24       A No.                                          24             THE WITNESS: Yes. Sorry.
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                                                   Page 9                                                      Page 11
 1       By Mr. Porter:                                      1      Q What specifically did Lincoln Land
 2       Q Okay. And this appears to be the                  2   Services do to facilitate this transaction, do you
 3   attachment to your email.                               3   recall?
 4          Do you see this document?                        4      A I don't know.
 5       A Okay. Yes.                                        5      Q The email chain originates down here on
 6       Q Is this a document that you created?              6   August 31st with Matt Turzewski and you'll see that
 7       A I don't think this is something I                 7   you were cc'd on it?
 8   created. This doesn't look like one of my               8      A Uh-huh.
 9   checklists.                                             9      Q And Mr. Turzewski is explaining that
10       Q All right. You forwarded it, however,            10   there is going to be a $5.2 million loan to be
11   correct? You wrote for our call this morning?          11   secured by five multifamily properties which he
12       A Yes.                                             12   identifies, and those five multifamily properties
13       Q All right. And did you complete it?              13   are listed here.
14       A No.                                              14           Do you see that?
15       Q Do you know who did complete it?                 15      A Yes, sir.
16       A No.                                              16      Q Do those addresses ring a bell to you?
17       Q Did you understand that any of the               17      A Not particularly, no.
18   things on this checklist were assignments that you     18      Q You'll notice that there is a 7625 South
19   were supposed to be tackling?                          19   East End, and it has its own unique PIN, correct?
20       A They were -- they are not my                     20      A Okay.
21   assignments.                                           21      Q And then you'll see there's a 7635 South
22       Q So you were not responsible for doing            22   East End and that too has its own unique PIN.
23   any of the things on this list?                        23           Do you see that?
24       A Correct. This was not my checklist.              24      A Yes.
                                                  Page 10                                                      Page 12
 1        Q How did you receive it?                          1       Q Did you have an understanding as to
 2        A I probably got it from the client.               2   whether those were separate properties or the same
 3        Q And so who were you sending it to on             3   property?
 4   August 30th of 2017, do you recall?                     4       A I'm not sure I follow your question.
 5        A I don't recall.                                  5   You mean at the time?
 6        Q On September 1st you received an email           6       Q Yes.
 7   from Leslie Clark at lincolnlandservices.com.           7       A At that time when I got this email, I
 8           Do you see that?                                8   probably had no understanding. I'd have to look at
 9        A Yes.                                             9   the title work and the survey to figure that out.
10        Q What was Lincoln Land Services role in          10       Q Okay. On September 11th you had
11   this transaction?                                      11   acknowledged that you received the title work,
12        A If I remember correctly, they were the          12   however?
13   primary title company contact for the                  13       A Uh-huh.
14   transaction.                                           14       Q Or no, did you -- hold on. I'm sorry.
15        Q They did not have an office in Illinois,        15   I have not reviewed but note that until I am in
16   did they?                                              16   receipt of the title work, you can't confirm that
17        A No, they did not.                               17   there may be additional releases. Okay. In this
18        Q And so were they issuing title                  18   email you received some form releases in advance of
19   insurance?                                             19   the title work.
20        A No. They were the primary title contact         20            Do you see that?
21   for the lender. I believe, if I remember, Lincoln      21       A Okay. Yes.
22   Land then engaged the local agent, and I can't         22       Q Let's just take a look at the first
23   remember the name of that company, to perform the      23   release. It's from EquityBuild Finance, LLC?
24   title search.                                          24       A Uh-huh.
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                                                    Page 13                                                      Page 15
 1       Q And it is -- purports to be from                    1   from my experience. So on short-term loans, it's
 2   3074 East Cheltenham Investors, care of EquityBuild       2   possible.
 3   Finance, LLC.                                             3       Q And then I see there's a release deed
 4            Do you see that?                                 4   here.
 5       A Yes.                                                5           Do you see that?
 6       Q Did you have an understanding as to who             6       A I do.
 7   these investors were?                                     7       Q In fact, this was the release deed you
 8       A No.                                                 8   included in your email, right?
 9       Q Did you have an understanding as to the             9       A Uh-huh.
10   relationship between EquityBuild Finance, LLC, and       10       Q Okay. Now, it says that under the
11   EquityBuild?                                             11   release, EquityBuild Finance releases unto
12       A No.                                                12   EquityBuild, Inc., all rights, title, interest,
13       Q Did you believe they were separate and             13   claim, or demand whatsoever he or she may have
14   independent entities?                                    14   acquired in, through or by a certain mortgage, and
15       A I had no belief. I had no opinion at               15   then it provides the details on the mortgage.
16   the time. I was probably just looking at the             16           Do you see that?
17   payoff letter.                                           17       A Yes.
18       Q And looking at this payoff letter, who             18       Q So who did you believe the borrower to
19   did you believe the lender to be?                        19   be in this instance?
20       A Probably EquityBuild Finance, LLC.                 20       A Well, do you mean the borrower -- I'm
21       Q And who did you believe the owner of               21   sorry, I don't follow your question.
22   these properties to be?                                  22       Q Well, this is a release of a mortgage,
23       A Whoever would show up as the owner on              23   correct?
24   the title commitment. I can't remember the name of       24       A Well, it appears to be a release of a
                                                    Page 14                                                      Page 16
 1   that entity.                                              1   mortgage, yes. But I remember looking at this
 2       Q All right. And then it shows an unpaid              2   document as a condition of closing, and I remember
 3   principal balance of $1,150,000.                          3   asking the title company if this was the correct
 4           Do you see that?                                  4   form. And they approved the form, and so we closed
 5       A Uh-huh. Yes.                                        5   once they got the signed version of this.
 6       Q With interest for the first half of                 6       Q Did you read the release deed before you
 7   September in the amount of $8,625.                        7   showed it to the title company?
 8           Do you see that?                                  8       A I did.
 9       A Yes.                                                9       Q And did you notice that EquityBuild
10       Q Did you run any type of computation to             10   Finance was releasing a mortgage unto EquityBuild,
11   determine whether this would have been a fully           11   Inc.?
12   amortizing as opposed to an interest only loan?          12       A I did notice that it looked like a
13       A That's not my obligation to do as                  13   different type of release document, so that's why I
14   lender's counsel.                                        14   had asked the title company is this a correct form
15       Q You didn't do it for your own                      15   of release.
16   curiosity?                                               16       Q Why did it look different? Different
17       A No. No lender's counsel really would do            17   than what?
18   that, but from my -- I've never done it.                 18       A Because to me I'm used to seeing a
19       Q Have you ever seen a first position                19   document that's called a release of mortgage, not a
20   mortgage in your career as a real estate lawyer in       20   release deed. So for me this looked really
21   which interest was 18 percent?                           21   unusual, so I had flagged it to the title company
22       A Yes.                                               22   and I had asked them, is this the correct form that
23       Q How frequently does that happen?                   23   you need.
24       A It depends on the type of lender it is             24       Q And did you realize in this case who the
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                                                  Page 17                                                       Page 19
 1   borrower was whose mortgage was being released?         1       THE WITNESS: Thank you.
 2      A I did not get to that part of it. I was            2       By Mr. Porter:
 3   more stuck on was this even the correct form that       3       Q Okay. And then the hyperlinked
 4   was being used.                                         4   commitment, which was attached in addition to some
 5      Q So you didn't take note that EquityBuild           5   of these -- I'm sorry, I've got some code violation
 6   Finance, LLC, was the mortgagee and that                6   cases that were attached to your email as well, so
 7   EquityBuild, Inc., was the mortgagor?                   7   I'm going to scroll through those.
 8      A I didn't -- I didn't even get to that              8           Here you've written to Maribel Morales
 9   part.                                                   9   and Ioana Salajanu that you are attaching your
10      Q And then I see there are other release            10   comments based on the new commitment.
11   deeds here for some of the other properties.           11           Do you see that?
12          Do you see that?                                12       A Yes.
13      A Uh-huh. Yes.                                      13       MR. STERN: Again, you're going to need to
14      Q One of them is for 7625 South East End,           14   blow that up a little bit, please?
15   which has a PIN number that ends in 008.               15       MR. PORTER: Okay. I'm sorry. I'm trying to
16          Do you see that?                                16   get the page numbers and the date stamps in here
17      A Yes.                                              17   too.
18      Q And one of them was for 7635 South East           18       By Mr. Porter:
19   End, which has a PIN number that ends in 009.          19       Q All right. So now, do you recall
20          Do you see that?                                20   writing this email?
21      A Yes.                                              21       A This is reminding me of it, but I
22      Q So there were two separate mortgages              22   wouldn't have remembered it right off the bat, but
23   then, one for 7625 and one for 7635?                   23   yes.
24      A I don't know what was on the title                24       Q Okay. And if we scroll down through the
                                                  Page 18                                                       Page 20
 1   commitment. At this point I don't recall.           1       email, we get to one that you authored on
 2        Q Okay. On September 15, 2017 you              2       September 18th, and I'm mostly showing this to you
 3   authored an email at 1:00 a.m., to Ioana.           3       to refresh your recollection.
 4             Do you remember dealing with someone      4               But you wrote to Ioana and Tyler, with
 5   named Ioana Salajanu.                               5       respect to all of the payoffs and release, all
 6        A Yes. She's the borrower's counsel, if I      6       releases must be signed by EquityBuild Finance, LLC
 7   remember.                                           7       and not Jerome Cohen individually.
 8        Q You wrote I am attaching a link to the       8               Do you see that?
 9   title commitment we received for the new loan       9           A Yes.
10   transaction, correct?                              10           Q Okay. Do you know who Jerome Cohen
11        A Yes.                                        11       was?
12        Q Okay. And then in, in your comments,        12           A I believe he was the guarantor on our
13   your seventh comment to Ioana was please note 13            deal, on our loan transaction.
14   Schedule B, 1 requirements that need to be         14           Q Okay. And why would he have been the
15   satisfied. Notably, we received only four payoffs  15       guarantor, do you know?
16   and releases, but five mortgages are showing up. 16             A I believe he was the principal or the
17   Please coordinate with Tyler and confirm proper    17       sponsor on the application and the primary
18   releases will be deposited and payoffs will be     18       controller of our borrower entity, if I remember
19   updated.                                           19       correctly.
20             Do you remember writing that?            20           Q Okay. And so why wouldn't you want the
21        A Yes.                                        21       sponsor of the borrower signing the release?
22        MR. STERN: Mr. Porter, can you blow that up a 22           A Because it didn't look like from the --
23   little bit?                                        23       it must have been because the title commitment I
24        MR. PORTER: Does that help?                   24       reviewed indicated the lender was EquityBuild
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                                                    Page 21                                                    Page 23
 1   Finance, LLC and not Jerome Cohen individually.           1       Q Okay. Here's a copy of the commitment.
 2       Q Do you know what Jerome Cohen's                     2   Is this your handwriting?
 3   relationship was to EquityBuild Finance, LLC?             3       A It looks like it, yes.
 4       A I do not.                                           4       Q Okay. And you'll see here that it says
 5       Q Do you know what his relationship was to            5   the title to the estate or interest in the land as
 6   EquityBuild, Inc.?                                        6   of the effective date is EquityBuild, Inc., a
 7       A No.                                                 7   Florida corporation.
 8       Q And if we go back up, and I've got to               8            Do you see that?
 9   just make the screen smaller for a second, you were       9       A Uh-huh, yes.
10   referring, I presume, to these release deeds that        10       Q Does that refresh your recollection as
11   you received copies of that indicated that Jerry         11   to who the owner of the properties being refinanced
12   Cohen was signing for EquityBuild Finance,               12   was?
13   correct?                                                 13       A Okay. So at the time of our closing,
14       A I must have been.                                  14   EquityBuild, Inc., was the owner of the property.
15       Q Okay. But Jerry Cohen, if I understand             15   They must have conveyed the property we were
16   you correctly, was likely the sponsor of the             16   mortgaging to our borrower SSDF5.
17   borrower, correct?                                       17       Q And that would have been a special
18       A Uh-huh.                                            18   purpose entity established by the borrower in
19       Q And so if I understand you correctly,              19   connection with the loan from Bloomfield Capital?
20   you didn't want the borrower to be signing the           20       A It looks like it, yes.
21   release of the mortgage, correct?                        21       Q Okay. And you'll see there's five
22       A No. I think all I'm saying is whoever              22   properties listed here, correct?
23   the mortgage lender was, their -- they need to be        23       A Yes.
24   on the signature block. It can't just be signed          24       Q Those are the five properties being
                                                    Page 22                                                    Page 24
 1   Jerry Cohen without all the bells and whistles,           1   refinanced?
 2   meaning what entity he's signing for. If he's in          2       A It looks like it, yes.
 3   fact any part of EquityBuild Finance, I don't know,       3       Q And then we go through this, and you've
 4   but it should have been signed by EquityBuild             4   made some scratch outs here, and I believe that's
 5   Finance, LLC if that was the lender being released,       5   to represent that when you received the pro forma
 6   not just by some individual by the name of Jerry          6   commitment at the closing, you want these
 7   Cohen.                                                    7   exceptions deleted, correct?
 8        Q Would it be valid if EquityBuild, Inc.,            8       A Yes.
 9   had signed the release?                                   9       Q And you'll see here exception 7 on
10        A I don't think so because if I -- again,           10   Schedule B-1 was that there needs to be a payoff
11   I don't have the title commitment in front of me,        11   letter for the mortgage that was recorded as
12   but I believe the mortgages indicated that the           12   document No. 1602156229 made by EquityBuild to
13   lender was EquityBuild Finance, not the other way        13   EquityBuild Finance.
14   around.                                                  14            Do you see that?
15        Q Okay. And so it would not be proper               15       A Yes.
16   then for the borrower to sign the release of the         16       Q Did you read that?
17   mortgage?                                                17       A Yes.
18        A Well, not if they're not the owner of             18       Q So did you have an understanding when
19   the mortgage, which I have no idea if they were.         19   you read that as to who was the borrower and who
20   Mr. Cohen individually didn't own that mortgage          20   was the lender?
21   according to the title commitment I received --          21       A In connection with the loan being
22        Q Okay.                                             22   refinanced, I probably didn't spend too much time
23        A -- probably. I just don't remember,               23   focusing on it, but it looks like here EquityBuild,
24   sir.                                                     24   Inc., was the owner and they had mortgaged the
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                                                 Page 25                                                     Page 27
 1   property to EquityBuild Finance, LLC.               1          A Uh-huh.
 2       Q Okay. And have you done many                  2          Q So did you have an understanding as to
 3   transactions in your career in which the borrower   3      who the mortgagee was?
 4   and the lender appeared to be affiliates of each    4          A I think my -- not that they were the
 5   other?                                              5      individual persons. I thought it was EquityBuild
 6       A Every transaction is different.               6      Finance, LLC, but it looks like they were really
 7   Borrowers do all kinds of things for tax purposes.  7      just the servicer.
 8   I don't really look behind it.                      8          Q Okay. So EquityBuild Finance, LLC was
 9       Q All right. And did you click on the           9      just the servicer?
10   hyperlinks here to see what these actual mortgages 10          A Uh-huh.
11   looked like?                                       11          Q And it says here that the borrower owes
12       A I probably copied -- printed it just to      12      the lender the principal sum of $2.2 million.
13   see what the dollar amounts were, but not beyond 13                Do you see that?
14   that.                                              14          A Yes.
15       Q Okay. We'll get to that in a second,         15          Q Okay. And I have -- and we can come
16   but I notice that a lot of the property taxes were 16      back to this later, but let's make a note of that.
17   delinquent.                                        17          A Uh-huh.
18           Do you see that?                           18          Q Okay. $2.2 million for Cheltenham, and
19       A Yes.                                         19      if you scroll down, you'll see here are all of the
20       Q Did it concern you that there were           20      persons listed on Exhibit A.
21   delinquencies in the payment of the property taxes 21              Do you see that?
22   on each of the parcels?                            22          A Yes.
23       A No. We see that a lot as lender's            23          Q And did you note that or attempt to note
24   counsel.                                           24      or even formulate an opinion regarding the
                                                 Page 26                                                     Page 28
 1       Q Okay. Now, let's take a look at the              1   principal amounts listed beside each and every
 2   mortgages. If you clicked on the hyperlinks and        2   lender's name, and whether those total up to
 3   printed them out, this is what you would have          3   $2.2 million?
 4   received. And the first page of the mortgage is        4       A I did not.
 5   really just a cover sheet created to indicate that     5       Q I see here, here is the next mortgage.
 6   there has been a certificate of exemption paid for     6   Did you print this one out too, do you know?
 7   by the lender in connection with the recording of      7       A I printed it out, yeah.
 8   the mortgage pursuant to Illinois law.                 8       Q This mortgage was also given to the
 9           Do you have an understanding of that?          9   persons listed on Exhibit A and it relates to the
10       A I'm familiar with the form. I've seen           10   property at 7625 South East End, and the mortgage
11   it before.                                            11   was 1,605,749.
12       Q Okay. And the lender is listed as the           12           Do you see that?
13   persons listed on Exhibit A to the mortgage, care     13       A Yes.
14   of EquityBuild Finance, LLC.                          14       Q Okay. We'll make a note of that.
15           Do you see that?                              15           And again, you see here the persons
16       A Yes.                                            16   listed on Exhibit A, correct?
17       Q Did you recognize this to be a                  17       A Yes.
18   syndicated loan?                                      18       Q And then there was another mortgage.
19       A I did not at the time, no.                      19   Here is the one for 7635 South East End, and I'm
20       Q You'll see the mortgage says that the           20   mostly just going through this to refresh your
21   security instrument is given to the persons listed    21   recollection, and it shows a $1.7 million and
22   on Exhibit A. You see that?                           22   change mortgage.
23       A Yes.                                            23           Do you see that?
24       Q Care of EquityBuild Finance, LLC?               24       A Yeah.
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                                                   Page 29                                                      Page 31
 1        Q And again, it shows that the security             1      Q Okay. And that was attached to an
 2   instrument is given to the persons listed on             2   email. And essentially you asked for these
 3   Exhibit A, correct?                                      3   organizational charts, right? You see here on
 4        A Yes.                                              4   August 24th that's where it started?
 5        Q And then there was an Exhibit A, that             5      A Sure. Yes.
 6   listed these persons?                                    6      Q Okay. And then you reviewed all of the
 7        A Yes.                                              7   resolutions and operating agreements for SSDF5
 8        Q And just so that we can -- it may be              8   Portfolio 1, as well as the holding company?
 9   easier, but do you have any reason to doubt that if      9      A Yes.
10   I added up the numbers of the principal amounts of      10      Q Okay. And so this would have made you
11   each lender's loan, that it would total up to the       11   aware that Jerry Cohen was both the manager of
12   total loan amount of 1,703,649?                         12   South Side Development Fund 5 and South Shore
13        A I don't know if it does.                         13   Property Holdings, correct?
14        Q And here's the fifth mortgage. This one          14      A Yes, that's what it looks like on the
15   is for 2.25 million, and it relates to 7201 South       15   chart.
16   Constance, again given to the persons listed on         16      Q And therefore, Jerry Cohen was the
17   Exhibit A, and those persons are identified here on     17   manager of the holding company SSDF5 Holdco 1 --
18   Exhibit A.                                              18      A Is that a question?
19           Do you see that?                                19      Q -- right?
20        A Yes.                                             20           Yes.
21        Q Okay. I forgot Muskegon. There was a             21      A Yes.
22   fifth one, I'm sorry.                                   22      Q And essentially he had full control over
23        A Okay.                                            23   SSDF5 Portfolio 1, the borrower, because he was the
24        Q Same thing for Muskegon, 2.25 million            24   manager of every entity in the domino chain,
                                                   Page 30                                                      Page 32
 1   given to the persons listed on Exhibit A, and then       1   correct?
 2   Exhibit A is attached to the mortgage. Okay.             2       A Correct.
 3           Now, you have -- let's go to another             3       Q Okay. Now, we go back to the payoff
 4   email and we'll come back to this. I'm doing this        4   letters, and on September 20th you received an
 5   in chronological order. There's an organizational        5   email from Matt Turzewski, and he wrote, Kas, FYI,
 6   chart that has been provided to you to essentially       6   this East End payoff only has one address on it. I
 7   set forth the structure in connection with the           7   know we have releases for each, but should the
 8   origination of the refinancing loan, correct?            8   second address be added to the payoff letter.
 9       A Yes.                                               9           Do you see that?
10       Q And SSDF5 Portfolio 1 LLC was going to            10       A Yes.
11   be the special purpose entity to which Bloomfield       11       Q Okay. And here's the payoff, and it
12   Capital made the loan, correct?                         12   says 7625 to 35 South East End, correct?
13       A Yes.                                              13       A Yes.
14       Q And then SSDF5, pursuant to your loan             14       Q And then it has two separate loan
15   underwriting requirements, would have to be wholly      15   numbers.
16   owned by a holding company, and it would have to be     16           Do you see that?
17   a Delaware holding company, correct?                    17       A I do. Can you go back to the prior
18       A That's what it looks like on the chart,           18   exhibit, please?
19   yes.                                                    19       Q I need you --
20       Q And then that holding company was owned           20       A The one with Matt's email on it. Okay.
21   or was intended to be owned 80/20 by a property         21   Hold on one second. Keep scrolling down for just
22   fund and 20 percent by a holding company for which      22   one second, please, sir. Stop right before the
23   Jerome Cohen was the sole owner, correct?               23   payoff, the email right before the payoff. Thank
24       A Yes.                                              24   you.
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                                                   Page 33                                                      Page 35
 1       MR. STERN: And blow it up.                           1       Q Did you at any time notice that you were
 2       THE WITNESS: Can you blow it up too, please?         2   now receiving a payoff letter for both 7625 and
 3       By Mr. Porter:                                       3   7635 South East End, but that the payoff was only
 4       Q Oh, sorry.                                         4   for an amount equal to the original amount of the
 5       A Yes. Okay. I'm sorry, go ahead. Now                5   payoff stated for 7635, with no additional funds
 6   if you don't mind, the payoff, please?                   6   due for the payoff of 7625?
 7       Q Okay. So you wrote to Ioana and Tyler              7       A I did not notice that.
 8   and said, I think you are already working on             8       Q Did you notice that the wire
 9   updating payoffs, since they were good through           9   instructions for the payoff would be for final
10   9/15, as there are two separate East End mortgages      10   credit to EquityBuild Finance, LLC?
11   and two separate releases, there should be two          11       A I did not notice that.
12   separate payoffs, or should both addresses be           12       Q Okay. You reviewed some UCC and tax
13   reflected on the attached payoff. Please advise.        13   lien searches, and some sort of litigation search,
14       MR. STERN: Just note for the record that was        14   information that came to you from Vcorp Services?
15   not read correctly.                                     15       A That's what it looks like, yeah.
16       By Mr. Porter:                                      16       Q Did you ever get on the internet and
17       Q Okay. You're entitled to read this                17   just Google EquityBuild?
18   document.                                               18       A No, I did not.
19       A Okay. I read it. Thank you.                       19       Q Did you ever run a Google search on
20       Q Okay. What was your concern here?                 20   Jerry Cohen?
21       A I think the issue here was one of the             21       A No, I did not, and I would not for any
22   payoffs -- the focus here was probably that one of      22   sponsor.
23   the payoffs may not have included the other             23       Q Do you know if anybody at Bloomfield
24   mortgage that also has to be discharged and             24   Capital did so?
                                                   Page 34                                                      Page 36
 1   released.                                                1      A I do not know. You'd have to ask
 2       Q Okay. And was this the payoff that you             2   them.
 3   were referring to?                                       3      Q You received a copy of an order that was
 4       A It must be, but I can't remember                   4   entered in a cause that had been filed against both
 5   honestly. If it's the one that's attached to the         5   EquityBuild, Inc., and EquityBuild Finance.
 6   email, then it must have been.                           6           Do you see that?
 7       Q Okay. You'll see the total amount of               7      A Yeah.
 8   the payoffs for both properties is listed as             8      Q And it refers to EquityBuild Finance,
 9   1.217 million and change, correct?                       9   Inc., and says that it's also known as EquityBuild
10       A Okay. Yes.                                        10   Finance, LLC.
11       Q Okay. Now, if we go back to the payoff            11           Did you notice that?
12   letters that you received that we looked at             12      A I don't remember this case.
13   earlier, you'll see that there was a payoff on          13      Q Did you read the opinion of the Court?
14   7625 South East End for 1,177,312.50 and then there     14      A I must have read it when I got it, but I
15   was one for 7635 for 1,217,562.50.                      15   don't remember it.
16           Do you see that?                                16      Q Did you read the complaint?
17       A Yes.                                              17      A I must have read it at the time, but I
18       Q But now when you are reviewing the next           18   don't remember it.
19   iteration of the payoff letters, you'll see that        19      Q Okay. And did you -- did you notice or
20   both addresses have been consolidated and the total     20   do you recall reading that there was an allegation
21   amount of the payoff is simply the amount for           21   that EquityBuild could not allow the plaintiff to
22   paying off what was previously 7635 South East End,     22   make investments in certain notes because they were
23   correct?                                                23   required to work solely with accredited investors
24       A That's what it looks like, yeah.                  24   and suggested that they would make the same
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                                                 Page 37                                                   Page 39
 1   investments but off the books?                         1   Dennis Onabajo?
 2       A I'm sorry, can you repeat your question          2       A Uh-huh.
 3   one more time?                                         3       Q Correct?
 4       Q Do you recall reading paragraph 12,              4       A Uh-huh.
 5   which I'm highlighting right now of the                5       Q And you attached the payoffs or
 6   complaint?                                             6   forwarded the payoffs that you received from Ioana
 7       A I don't recall reading it at the time.           7   Salajanu, correct?
 8   I must have done it, but I don't remember it.          8       A That's what it looks like, yeah.
 9       Q Okay. But -- and feel free to read it            9       Q And then the attachments are listed
10   right now. I mean, is there --                        10   right here on page 121, correct?
11       A Uh-huh.                                         11       A Yes, that's what it looks like, yes.
12       Q -- anything in here that is concerning          12       Q So you forwarded four payoff letters,
13   to you about the borrower?                            13   and one of them was for two properties, correct,
14       A Well, so who do you mean by borrower?           14   7625 and 7635?
15       Q That's a good question.                         15       A That's what it looks like, yes.
16           Who do you understand the borrower to         16       Q Okay. And the payoff letters indicate
17   be?                                                   17   the amounts due to the lender at closing in order
18       A My borrower was SSDF5.                          18   to ensure that the release of the mortgage will be
19       Q Pardon me?                                      19   filed and that Bloomfield Capital will be sitting
20       A Was the SSDF5 entity.                           20   in a first priority position, correct?
21       Q How about in the actual complaint here          21       A Yes.
22   that you're reading, that was pulled off of the       22       Q And the payoff letter for 7625 and 35
23   docket search?                                        23   South East End is just a single consolidated
24       A You're asking me who the borrower is on         24   payoff, right?
                                                 Page 38                                                   Page 40
 1   that?                                                  1        A That's what it looks like, yeah.
 2        Q Yes. Do you have an understanding as to         2        Q And it's for the amount shown here,
 3   who the borrower was?                                  3   1,225,125?
 4        A No. I don't remember reading this case.         4        A That's what it says in the payoff,
 5   I would have to really read it from top to end to      5   correct.
 6   answer your question.                                  6        Q Okay. And so you forwarded them to the
 7        Q Okay. You don't recall -- you don't             7   title companies, and indicated that you had asked
 8   have any recollection whether you read this            8   in a prior email that the East End payoff refer to
 9   complaint or not of having any concern about the       9   both East End addresses as it appears that there
10   business operations of the borrower, correct?         10   were two separate mortgages, correct?
11        A Which borrower, sir, the one in the            11        A Yes, it looked like that, yes.
12   document, in the complaint?                           12        Q So you wanted this payoff letter for
13        Q Yes, EquityBuild, Inc.                         13   7625 and 35 to refer to both addresses, correct?
14        A Okay. I don't remember. I'm sure I             14        A Yeah. I -- was there a separate payoff
15   read it when I got it, but I don't recall what I      15   then for 35 before or was that -- I'm wondering if
16   did with it afterwards.                               16   it was because the client, the client had wanted
17        Q Okay. Now, here's an email that you            17   based on that email that you had forwarded or was
18   drafted on September the 25th, and you're sending     18   shared with me. I just can't remember why.
19   it to Maribel Morales and Kristen Cristia, the        19        Q Sure. I can show you. You received
20   former at Lincoln Land Services, the latter at Near   20   payoff letters at the inception. You received one
21   North National Title Company, and you also copied     21   for 7625 South East End. This is page 17.
22   Matt Turzewski at Bloomfield Capital, correct?        22        A Uh-huh.
23        A Yes, that's what it looks like.                23        Q And you received one for 7635 South
24        Q And then you cc'd Ioana Salajanu and           24   East End?
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                                                 Page 41                                                       Page 43
 1      A Uh-huh.                                         1         Q Okay. So the principal amount of the
 2      Q Right?                                          2     new loan would have been 5,328,433.43?
 3      A Uh-huh. Yes.                                    3         A Yes.
 4      Q The former for a million 177 and change,        4         Q Then there were loan charges taken from
 5   and the latter for a million 217 and change,         5     the proceeds of the loan and retained, not even
 6   correct?                                             6     paid into closing, by Bloomfield Capital in the
 7      A Okay. Yeah.                                     7     amount of 1,718,603.43?
 8      Q But down here -- actually, an updated           8         A That's what it looks like on the
 9   payoff letter that you received showed that both of 9      statement, yes.
10   them were now listed on the same payoff letter,     10         Q Including almost a million and a half
11   7625 to 35 South East End, correct?                 11     dollars for capital improvement reserves, right?
12      A Yes.                                           12         A Yes.
13      Q And the total payoff was a million 225         13         Q Then there were title charges and escrow
14   and change?                                         14     charges paid to the title company, and then
15      A Okay. Yeah.                                    15     Bloomfield Capital requested endorsements on all
16      Q Okay. And so you don't recall noticing         16     five of the properties, correct?
17   that the total payoff now being requested for both 17          A Yes.
18   7625 and 35 was substantially less than the total 18           Q That were paid for.
19   combined payoff for the properties separately when 19              And then we come down and we see the
20   they first appeared in your email box as separate 20       mortgage payoffs, correct, the existing
21   payoff letters?                                     21     encumbrances were paid off?
22      A I didn't notice and typically I wouldn't       22         A Yes.
23   be scrutinizing those numbers.                      23         Q And the payoffs here listed on the
24      Q So you left it to the title company to         24     closing statement would have matched the amounts
                                                 Page 42                                                       Page 44
 1   do that scrutinization?                                1   claimed to be due on the payoff letters, correct?
 2        A Yes, it looks like it, because their            2       A They should have matched, yeah.
 3   title company requirements says that it would have     3       Q Did you check to see that they
 4   to be a company approved payoff letter.                4   matched?
 5        Q Okay. So on September 25th, by the way,         5       A No. My checking was against the loan
 6   they updated the payoff letter. Here is an email       6   disbursement statements.
 7   that you received on or about September 25th in        7       Q Okay. And so by the time that the
 8   which you were forwarded an updated payoff letter      8   refinance was scheduled out onto the closing
 9   for the 7625 and 7635 East End properties,             9   statement, the amounts of the payoffs of the
10   correct?                                              10   existing encumbrances, as well as the payoffs of
11        A That's what it looks like, yes.                11   the delinquent real estate taxes, the expenses of
12        Q Now, the addresses are clearly                 12   all of the lender requested endorsements, the title
13   separately spelled out, do you see here?              13   and escrow charges and the holdbacks and charges
14        A Yes.                                           14   assessed by the lenders, after consideration of all
15        Q But the payoff remains 1,225,125,              15   those things, the borrower actually needed to pay
16   right?                                                16   just over a million and a half dollars into escrow
17        A That's what it looks like, yeah.               17   to close the refinance, correct?
18        Q Okay. Now, we see -- here's the                18       A That's what it looks like on the
19   settlement statement, correct? You would have         19   statement, yeah.
20   reviewed the settlement statement?                    20       Q And then it was signed on behalf of the
21        A I would have looked at it, yes.                21   borrower by Jerry Cohen.
22        Q Would you have reviewed it carefully?          22            Do you see that?
23        A I would have looked to make sure it ties       23       A Yes.
24   up with the loan disbursement statement.              24       Q Okay. And now the releases come along
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                                               Page 45                                                       Page 47
 1   and are recorded after the transaction.            1     why I originally asked the title company if this
 2            Do you see this?                          2     form was adequate. They told me they were happy
 3       A Yes.                                         3     with it and that's why we closed. I did not see
 4       Q Okay. And these would have been              4     the final form. It was not presented to me until
 5   recorded by the title company, correct?            5     like after we closed.
 6       A Right. They were -- they should have --      6         Q I see. Do you have an understanding as
 7   they were likely deposited there and recorded by   7     to whether or not the borrower should be releasing
 8   them, yes.                                         8     its own mortgage?
 9       Q In fact, this 5 of 9 that you see            9         A If EquityBuild, Inc., is the owner, I'm
10   handwritten in the margin is an instruction from  10     not sure why this deed was set up this way.
11   the title company to whoever is recording to      11         Q Okay. Here's a little summary I put
12   indicate the order in which each of the documents 12     together, and we can go through and check it. You
13   should be recorded, correct?                      13     can check it. And it lists the five properties and
14       A I don't know the answer to that             14     the refinance.
15   question.                                         15             Incidentally, you indicated that you
16       Q The mortgage would have been recorded -- 16        printed out the mortgages and I've written down
17   first the -- first the quit claim deed to the     17     those mortgage amounts here. There's other people
18   special purpose entities, then the mortgage, then 18     on this call, so they're welcome to check my math,
19   the assignment of rents, then the releases,       19     but those mortgages that appear in this exhibit
20   et cetera, et cetera. You don't -- do you --      20     total up to $10,009,398, and I invite you or anyone
21       A I don't know. I have my own                 21     else to check my math.
22   instructions to the title company in terms of the 22             But if you schedule out the individual
23   recording order. What they do as to the order, I  23     contributions of the lenders listed on the
24   can't tell you.                                   24     respective Exhibit As, I think you'll find that it
                                               Page 46                                                       Page 48
 1        Q Okay. And did you review the release          1   totals up to $10,009,398.
 2   deeds that were sent into the closing?               2       MR. STERN: It's your deposition. It's your
 3        A I only saw the unsigned ones that you         3   deposition and your time. Do you want her to go
 4   had earlier.                                         4   get a calculator and --
 5        Q You didn't see the final drafts?              5       MR. PORTER: No.
 6        A I don't think I saw the final drafts. I       6       MR. STERN: -- add these up and check that?
 7   had asked for them, if I remember correctly, and     7   Is that what you're asking her to do?
 8   then the title company told me that they had         8       MR. PORTER: No. I'm just establishing the
 9   received what they needed.                           9   foundation. I'm just letting you know that the
10        Q Okay. Now, on this release, it shows         10   math is here. The numbers are accurate, but if you
11   that EquityBuild is releasing a mortgage.           11   want to check me out, you can. I'm not asking her
12           Do you see that?                            12   to verify them, but just for demonstrative purposes
13        A That's what it looks like, yeah.             13   I've got them listed.
14        Q Was EquityBuild the lender or the            14       MR. STERN: So what's the question?
15   borrower?                                           15       By Mr. Porter:
16        A EquityBuild according to the title           16       Q Okay. Now, the total of the payoffs on
17   commitment you showed me was the owner.             17   the closing statement was $4,944,850.
18        Q Okay. Do you know why the owner would        18           Do you want to go back and run through
19   have been releasing its own mortgage?               19   the math on that?
20        A I don't know why. You'd have to ask the      20       A No.
21   title company why they accepted this form.          21       MR. STERN: No, she doesn't want -- counsel,
22        Q Okay. It appears, though, that this is       22   let me be clear. She's the witness here. She
23   not accurate, correct?                              23   doesn't want to do anything other than to answer
24        A I don't understand this form. That's         24   your questions. And that's not a proper thing to
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                                                    Page 49                                                            Page 51
 1   ask a witness in the course of a deposition. You    1                 In connection with this transaction
 2   have three hours. How do you want to use them? 2              or --
 3      MR. PORTER: I'm trying to save you time by       3             Q     Yes.
 4   not making her write down the payoff on each one 4                A    -- in general?
 5   and do the math at the deposition.                  5                 I don't recall seeing anything like
 6      MR. STERN: She's here for three hours. You       6         that.
 7   can use the time however you want to use it.        7              Q Okay. Do you recall doing any due
 8      MR. PORTER: Okay. I'll ask the witness.          8         diligence on this transaction other than what we've
 9      By Mr. Porter:                                   9         reviewed here today?
10      Q Do you want to go back and review the         10              A No, you pretty much have it.
11   payoffs and write them down and do the math for 11                 Q Okay. Let me just see. Let me just
12   me?                                                12         think if I have any more questions.
13      MR. STERN: No. No, she doesn't want -- let      13              MR. STEIN: While your doing that, would this
14   me be clear. She doesn't want to do anything other 14         be an appropriate time to take a break?
15   than answer your question.                         15              MR. PORTER: Sure.
16          If you want her to do that, then we'll      16              THE WITNESS: Hold on.
17   get a calculator and she'll do it, all on the      17              MR. STERN: We're fine continuing.
18   record using your time. You decide. You're asking 18               MR. STEIN: Okay.
19   the questions.                                     19              MR. PORTER: I mean, I think I'm done.
20      MR. PORTER: Okay. I'll just ask.                20              MS. WINE: Excuse me. This is Jodi Wine. Can
21      By Mr. Porter:                                  21         we take a short break I think for the court
22      Q Did you at any time notice that the           22         reporter and some of the participants would like a
23   amounts of the payoffs of the five mortgages was 23           little break.
24   less than half the original mortgage balances?     24              THE WITNESS: I'd prefer not to. I prefer to
                                                    Page 50                                                            Page 52
 1       A No.                                                 1   move on. I've got -- I've got things I've got to
 2       Q Do you have any understanding as to how             2   do.
 3   the borrower or whether the borrower paid off             3       MR. STERN: Why don't we just take one break
 4   $5 million of the principal of its original loan          4   halfway through.
 5   debt before it got to the closing?                        5       THE WITNESS: Correct, that's fine.
 6       A That's not something I would look at.               6       MS. WINE: Do you want to reconvene in say ten
 7   No.                                                       7   minutes?
 8       Q Did you look up to see what the original            8       MR. STERN: No. We'd like to go for about
 9   acquisition prices of the properties were that            9   another 20 minutes and then take a break halfway
10   corresponded to these mortgages?                         10   through.
11       A I would not have access to that                    11       MS. WINE: Well, we might be halfway through
12   information.                                             12   the deposition time, so can we take a break now?
13       Q Do you know if anybody at Bloomfield               13       MR. STERN: The witness has requested that we
14   Capital did that?                                        14   continue and just take one break halfway through
15       A You'd have to ask Bloomfield Capital.              15   the three hour time period. Is that a problem?
16   Sorry.                                                   16   I'm not understanding.
17       Q Okay. A schedule of real estate owned              17       MR. PORTER: Well, as long as the deposition
18   was submitted by the borrower to the lender in           18   doesn't go more than three hours, I don't know what
19   connection with the transaction.                         19   difference it makes.
20           Are you aware of that?                           20       THE WITNESS: Does somebody need to go to the
21       A I have no recollection. I don't know.              21   bathroom? I don't want to get in their way, but I
22       Q Okay. Have you ever seen something                 22   mean, I'm hoping to get to an hour and a half of
23   called a collateral agency and servicing agreement?      23   dep time in and then take the break. Who has a
24       A No, I have not.                                    24   problem with that?
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                                                    Page 53                                                       Page 55
 1      MR. PORTER: I don't. I'm done.                         1   the math, which I think that would be anywhere from
 2      MS. WINE: I'm requesting a break now, please?          2   70 to 140. I just don't remember.
 3      THE WITNESS: Okay. That's fine. I'd like to            3        Q Okay. So they were -- it was a client
 4   have only one break then, please.                         4   you had done a significant amount of work for; is
 5      MR. PORTER: Okay. What do I do now, just               5   that fair to say?
 6   hang out or do we go on pause?                            6        A I'd say worked with them, yes.
 7      MR. GALE: And how long -- and I'm sorry, I             7        Q Had you worked with Matt Turzewski
 8   don't mean for all of us to be talking over each          8   before?
 9   other, but how many minutes until we're back on the       9        A Yes.
10   record because I was going to leave the room for a       10        Q Okay. In your work for Bloomfield
11   couple of minutes.                                       11   Capital was it common for you to work with this
12      MR. STEIN: Why don't we reconvene in ten              12   title company, Near North Title Company?
13   minutes.                                                 13                (Reporter interruption.)
14      MR. STERN: Ten minutes. So we're clear,               14        MR. GALE: Mr. Haggins, is it possible for you
15   we're now going off the record at 12:10 Eastern          15   to mute your microphone?
16   time and we'll reconvene at 12:20.                       16           Thank you, sir.
17      MR. GALE: That works for me.                          17        MR. STERN: We'll need that question again,
18      THE WITNESS: Thank you.                               18   Max.
19      MR. GALE: Thanks everyone.                            19        By Mr. Stein:
20              (A recess was taken.)                         20        Q Understood. I was trying to remember
21                                                            21   what it was.
22                                                            22           Marybeth, do you have it?
23                                                            23                (The record was read.)
24                                                            24        THE WITNESS: Not really, no.
                                                    Page 54                                                       Page 56
 1                  EXAMINATION                                1       By Mr. Stein:
 2       By Mr. Stein:                                         2       Q How about Land of Lincoln?
 3       Q Good morning, Ms. Bagchi, my name is Max            3       A I closed a few deals with them.
 4   Stein. I represent certain of -- certain investors        4       Q In this particular transaction, so the
 5   in the receivership, and I was going to ask you a         5   transaction that occurred in the fall of 2017 that
 6   few questions this morning.                               6   you talked about most of the time today, who
 7           First, did I pronounce your name                  7   selected the title company?
 8   correctly?                                                8       A I believe it was -- I don't recall, but
 9       A You did. Thank you.                                 9   I think it's -- it usually was Bloomfield Capital,
10       Q Okay. Good.                                        10   the lawyer, whoever the New York agency is, I can't
11           You've already answered a number of              11   remember. They picked the Illinois agency.
12   questions about this particular transaction that         12       Q So just so I understand what you're
13   you handled for Bloomfield Capital in the fall of        13   saying.
14   2017. I want to take a step back.                        14            You're saying that Bloomfield Capital
15           At that time had you previously handled          15   picked the New York title insurance company, and
16   loan transactions for Bloomfield Capital?                16   then the New York title insurance company picked
17       A Yes.                                               17   the Illinois title insurance company that actually
18       Q Approximately how many had you handled             18   issued the policy, is that what you were saying?
19   for them.                                                19       A That's what I remember, yeah.
20       A Through 2017?                                      20       Q You were shown -- hang on with me. I'm
21       Q Around -- yes, at this point in time,              21   going to attempt to share the exhibits with this
22   approximately how many?                                  22   screen.
23       A Okay. Assuming I did 10 or 20                      23            Can you see the title insurance policy
24   transactions in the year 2010 for them, so doing         24   that is now shared on the screen?
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                                                  Page 57                                                      Page 59
 1        A Yes.                                             1   crossing -- I guess what I'm trying to understand
 2        MR. STERN: Can you blow it up at all?              2   is why it was that you needed -- you felt it
 3        By Mr. Stein:                                      3   necessary to cross off these provisions if the
 4        Q Okay, let me try to. Yes.                        4   borrower was going to satisfy them? What did it
 5            Can you read that?                             5   matter to you whether they were part of the title
 6        A Yes.                                             6   commitment or not?
 7        Q Or would you like me to zoom in                  7        A It's just the practice. It's called us
 8   further?                                                8   marking up the commitment to deliver it to the
 9        A I'm able to read it. Thank you.                  9   title company, so they know what performance -- how
10        Q Okay. As you noted in the questioning           10   I expect the insurance policy back from them.
11   earlier, you -- there were large numbers of            11        Q Okay. You were shown -- I'm just trying
12   paragraphs that you had crossed off and put all        12   to find the document. So you were shown -- I'm
13   requirements to be satisfied by borrower.              13   sorry. We're now looking at starting on page 58 of
14            Can you see that?                             14   Exhibit 1 to your deposition.
15        A Yes.                                            15            You were shown examples of the
16        Q And I'm sorry, I should have said, right        16   mortgages, and these were included just after the
17   now we're looking at page 50 from the pdf that will    17   title commitment comments that you sent back to the
18   be marked as Exhibit 1 to your deposition.             18   title insurance company there were these mortgages.
19            And the question I have for you is was        19   And it was noted that the mortgages -- the lenders
20   it common for you to cross off entire squads of        20   listed on the mortgages were listed in that
21   title insurance policies like you did in this          21   exhibit.
22   instance?                                              22            Do you recall that testimony?
23        A Yes.                                            23        A Yes.
24        Q And why would you do that?                      24        Q And if we look here at page 64 of the
                                                  Page 58                                                      Page 60
 1       A Because you cannot close unless the           1       Exhibit 1 is one of those lists of the lenders from
 2   requirements are satisfied. You won't get your      2       on the mortgage. This particular mortgage is for
 3   policy.                                             3       the Cheltenham property.
 4       Q And why didn't you want -- why didn't         4               Do you see that?
 5   you on behalf of the lender want these terms in the 5           A Yes.
 6   policy?                                             6           Q Was it common for lenders to be listed
 7       A So you can't issue -- get a policy            7       in this way, where they weren't identified in the
 8   issued unless the requirements are satisfied. If    8       text of the mortgage, but instead were identified
 9   there is a requirement open, they will not issue a  9       in an exhibit like this?
10   policy, so then we cannot close.                   10           A I don't know. Every transaction is
11       Q Okay. So that means -- and were you          11       different, so if it's common or not --
12   saying -- when you say all the requirements need to12           Q So have you --
13   be satisfied, you mean --                          13           A -- I can't tell you.
14               (An interruption was had because       14           Q My apologies.
15                the court reporter's Zoom froze.)     15               Had you seen a listing like this in a
16       By Mr. Stein:                                  16       mortgage before this transaction?
17       Q So in fact we are going to repeat what       17           A Probably not, no.
18   we just did for the purposes of the record.        18           Q What did you understand were the rights
19           When you say all the requirements need     19       of the people listed in Exhibit A to these
20   to be satisfied before the policy can be issued,   20       mortgages?
21   you mean they need to be satisfied by the borrower;21           A I didn't have to understand. It wasn't
22   is that correct?                                   22       my obligation to understand.
23       A Yes.                                         23           Q I didn't ask you whether it was your
24       Q And why is it then that you were still       24       obligation. I asked you what you understood were
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                                                  Page 61                                                       Page 63
 1   their rights?                                           1        Q So what you did on behalf of Bloomfield
 2      A I didn't -- I had no understanding.                2   Capital as the lender in this instance was you
 3      Q Okay. Did you do anything to determine             3   relied on the title insurance company to tell you
 4   what, if any, rights these people had?                  4   whether the liens had been released, is that what
 5      A No.                                                5   you're saying?
 6      Q Did you do anything to determine whether           6        A That's what every lender's counsel would
 7   they had liens on the property?                         7   do, yes.
 8      A Other than the title commitment, that's            8        Q And did you do any -- I'm sorry, go
 9   the only thing I would have done.                       9   ahead.
10      Q And through the title commitment, did             10        A That's it.
11   you understand that they did have liens?               11        Q Did you do anything beyond rely on the
12      A If the title commitment showed a                  12   title insurance company to determine whether the
13   mortgage, then yes.                                    13   liens had been released?
14      Q And what did you do to determine whether          14        A No.
15   they had released those liens?                         15        Q You were asked some questions earlier
16      A That's part of the requirement. So the            16   about a Court order and a complaint, and you
17   requirements --                                        17   indicated that you would have reviewed them at the
18      Q The requirement of what?                          18   time.
19      A On the commitment.                                19            Do you recall that testimony?
20      Q The requirements on the title insurance           20        A Yes.
21   commitment required --                                 21        Q Why would you have reviewed those
22      A I would --                                        22   documents at the time?
23      Q -- that the liens be -- hang on. Let me           23        A Presumably we ordered the searches and
24   just finish my question, please.                       24   we got the results, so I would review the results.
                                                  Page 62                                                       Page 64
 1            The title -- the requirements on the           1       Q To what purpose would you have ordered
 2   title insurance policy commitment require that the      2   those searches and reviewed those results?
 3   liens be released by the holders of the liens, is       3       A It's something we do for Bloomfield
 4   that what you're saying?                                4   Capital if they ask us to do it.
 5        A Yes.                                             5       Q What are you trying -- what are you
 6        Q And did you -- do you on behalf of               6   hoping to learn from that?
 7   EquityBuild as the lender, did you do anything to       7       A Just general background information.
 8   determine whether these liens on these properties       8       Q And so in reviewing those -- the results
 9   had been released by the lienholders?                   9   of those searches, did you do anything with the
10        A I'm sorry, sir, why would I do anything         10   information that you gleaned in this particular
11   on behalf of EquityBuild as the lender? I don't        11   instance?
12   represent them.                                        12       A I don't have access to the file any
13        Q I'm sorry. I misspoke. Thank you. Let           13   more, but I presume I would have shared it with the
14   me try that again.                                     14   client, Bloomfield Capital.
15            Did you on behalf of Bloomfield Capital       15       Q Do you remember having any conversations
16   as the lender do anything to determine if the liens    16   with Bloomfield Capital about what you've learned
17   on these properties had been released by the           17   from the Court papers that were a result of your
18   lienholders?                                           18   search?
19        A I followed what the title company               19       A I don't remember.
20   required.                                              20       Q Did you ever talk with anybody at
21        Q What does that mean?                            21   Bloomfield Capital about EquityBuild doing things
22        A So that means that if the title company         22   off the books?
23   got the payoffs, they got the releases in escrow,      23       A I'm sorry, could that possibly be
24   they approved it, then we were ready to close.         24   privileged?
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                                                   Page 65                                                      Page 67
 1       MR. STERN: Yes. You can just answer that yes         1   client, other than in the rendering of her legal
 2   or no.                                                   2   advice, I guess you can do that.
 3       THE WITNESS: So can you repeat the question          3       By Mr. Stein:
 4   one more time, sir?                                      4       Q No. The question I asked was did you
 5       By Mr. Stein:                                        5   have any conversations with Bloomfield Capital as
 6       Q Sure. Did you ever have any                        6   your client regarding EquityBuild potentially doing
 7   conversations with anybody at Bloomfield Capital         7   things off the books?
 8   about EquityBuild doing things off the books?            8       MR. STERN: And she answered that.
 9       A No.                                                9       By Mr. Stein:
10       Q Did you ever have any conversations with          10       Q You can answer the question.
11   EquityBuild about EquityBuild doing things off the      11       MR. STERN: She answered that. No, you can go
12   books?                                                  12   back and have the court reporter reread the
13       A No.                                               13   transcript. We're not going back over this again.
14       Q Would you be concerned if a borrower              14       MR. STEIN: Mr. Stern, I'm allowed to ask
15   borrowing money from your client as the lender had      15   questions during my time. If I want an answer to
16   been accused of doing things off the books?             16   this question a second time, I can get an answer to
17       A Yes.                                              17   it a second time. If you want to instruct --
18       Q What would you do to satisfy yourself             18       MR. STERN: The answer --
19   that that wasn't an issue?                              19       MR. STEIN: -- the witness -- excuse me.
20       MR. STERN: Calls for speculation.                   20           If you want to instruct the witness not
21       By Mr. Stein:                                       21   to answer the question, you can do that, and we'll
22       Q You can answer.                                   22   confirm that's what she's going to do.
23       A It's really up to the client. They have           23           I need to ask her the question. Then
24   to decide what they do with it at that point.           24   you can say what you want. You're supposed to say
                                                   Page 66                                                      Page 68
 1      Q Okay. But in this particular instance,          1       objection and those kinds of things, and then we
 2   you didn't actually have any conversations with      2       can confirm and make a clear record. So I'm going
 3   Bloomfield as your client about the possibility      3       to ask the question one more time and then we --
 4   that EquityBuild was doing things off the books; is 4            MR. STERN: You asked --
 5   that right?                                          5           MR. STEIN: -- can answer --
 6      MR. STERN: You know, you keep asking about 6                  MR. STERN: Are you done?
 7   conversations with her client. I let her go far      7           MR. STEIN: I'm done.
 8   enough to answer it once. I don't see a reason to    8           MR. STERN: You asked the question. You
 9   ask it a second or third time.                       9       attempted to invade the privilege. I let the
10      By Mr. Stein:                                    10       answer -- the witness answer yes or no, and she
11      Q You can answer.                                11       answered no. Why do you need to ask the question
12      MR. STERN: She's not going to answer that        12       again?
13   again. It's on the record, clear in terms -- she    13           MR. STEIN: Because I want to.
14   gave you a firm definite answer. We're not going 14              By Mr. Stein:
15   there again.                                        15           Q Ms. Bagchi, during --
16      MR. HART: To be clear, her conversations with 16              MR. STERN: I'll instruct her not to answer
17   her client regarding the transaction of her         17       this question a second time.
18   representation are privileged.                      18           By Mr. Stein:
19      MR. STEIN: If there was legal advice being       19           Q Ms. Bagchi, are you going to follow your
20   sought.                                             20       lawyer's advice not to answer the question?
21      MR. HART: That -- I presume that's -- yes,       21           A Yes.
22   you're right.                                       22           MR. STEIN: And Mr. Stern, the instruction is
23           So the question is, if you want to ask      23       based on privilege?
24   her whether she had any communications with her 24               MR. STERN: Privilege and the fact that she
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                                                  Page 69                                                     Page 71
 1   already answered the question.                          1        A So there is two different statements
 2       MR. STEIN: Well, one of those is a proper           2   that are typically issued at closing. One is the
 3   instruction and one of those is an improper             3   lender's statement that shows --
 4   instruction, so let's be clear.                         4               (Reporter interruption.)
 5            Are you doing this because you believe         5        THE WITNESS: There are two different
 6   the question that I haven't actually asked is           6   statements that are usually issued at closing. One
 7   privileged or are you doing it because you believe      7   is a loan disbursement statement that shows how the
 8   the question I haven't actually asked has already       8   proceeds of the loan are going to be disbursed.
 9   been asked?                                             9   And then the second statement typically is the
10       MR. STERN: I believe -- the objection is           10   settlement statement that's provided by the title
11   based on the fact that I believe that you are          11   company.
12   purposely and improperly seeking to invade the         12           So the idea is to make sure that the
13   privilege given the testimony that's been given.       13   numbers on the loan disbursement statement matches
14       MR. STEIN: Okay.                                   14   up sort of with the statement that's issued by the
15       By Mr. Stein:                                      15   title company.
16       Q Ms. Bagchi, did you work on any other            16        By Mr. Stein:
17   loans for Bloomfield Capital where Bloomfield was      17        Q And for your purposes as lender's
18   making a loan to EquityBuild or an entity              18   counsel, which of those are -- what are you trying
19   affiliated with EquityBuild?                           19   to confirm when you make sure that those two
20       A I believe I did, yes.                            20   documents tie together?
21       Q Were those prior to this loan or after           21        A That the numbers between the lender's
22   this loan or both?                                     22   statement and the closing -- the loan number -- the
23       A I think one was before and then there            23   amounts of the loan proceeds being disbursed line
24   was one more after the fact that didn't close.         24   up with the amount that's set forth in the
                                                  Page 70                                                     Page 72
 1                (Reporter interruption.)                   1   settlement statement, and that ultimately the
 2       THE WITNESS: Yes, ma'am, did not.                   2   mortgage lien is being paid off. There's enough
 3       By Mr. Stein:                                       3   cash --
 4       Q So you worked on at least three -- you            4        Q That the mortgage lien is being paid --
 5   believe you worked on at least three loans for          5        A -- to close. There's enough cash to
 6   Bloomfield Capital where the borrower was               6   close in other words.
 7   EquityBuild or an entity related to it; is that         7           Sorry, I didn't mean to interrupt.
 8   right?                                                  8        Q That's okay. It happens, especially in
 9       A Where it was an entity related to Cohen,          9   this setting.
10   whether it was EquityBuild or not.                     10           And you said that the mortgage liens are
11       Q Okay. Thank you.                                 11   paid off. What you meant when you said that, I
12           In the course of your work on those            12   believe, is the existing mortgage liens; is that
13   three loans, did you ever have concerns about          13   right?
14   EquityBuild's business model or Mr. Cohen's            14        A Yes, sir.
15   business practices?                                    15        Q And so that would be the mortgage liens
16       A No, sir.                                         16   that were held by, for instance, the people listed
17       Q During your earlier testimony you                17   on those Exhibit As in the mortgages; is that
18   mentioned that you would review the settlement         18   right?
19   statement for a loan to make sure that it tied out     19        A The mortgages that are identified on the
20   to the loan disbursement statement.                    20   title commitment that are part of the requirements,
21           Do you recall that testimony?                  21   yes.
22       A Yes, sir.                                        22        Q Okay. Now, you also testified earlier
23       Q Could you explain what you meant by              23   that in this particular instance the release deeds
24   that?                                                  24   were -- looked unusual to you; is that right?
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                                                 Page 73                                                    Page 75
 1        A Yes.                                          1     would have had communications with the title
 2        Q Do you remember if similar release deeds 2          insurance company and with borrower's counsel, but
 3   were used in the other EquityBuild loans that you    3     you don't have a recollection of the specifics of
 4   worked on for Bloomfield Capital?                    4     those communications; is that right?
 5        A I don't know. I don't, I'm sorry.             5          A Yes.
 6        Q Do you remember ever talking with             6          Q Thank you.
 7   anybody about the release deeds and asking why it 7                You were also shown a summary of the
 8   was that they were set up the way they were?         8     loan, of this particular loan, which is on page 146
 9        MR. STERN: And that would be yes or no.         9     of Exhibit 1, and I will go ahead and share that
10        THE WITNESS: Yes, I probably spoke to the 10          again, so that you can see it. And you were asked
11   title company about it, or --                       11     questions about the differences between the amounts
12        By Mr. Stein:                                  12     shown on the mortgages and the amounts shown on the
13        Q Okay.                                        13     payoffs.
14        A -- borrower's counsel, but honestly, I       14             Do you recall that testimony?
15   don't -- I mean, I don't remember to be candid with 15          A Yes.
16   you. I just have -- if there is emails about it,    16          Q In your experience was it common that
17   that's probably the best record.                    17     there would be such a large difference between the
18        Q And so you believe you would have -- let 18         amounts shown on the mortgages and the amounts
19   me make sure I'm understanding you.                 19     shown on the payoffs?
20            You believe you would have spoken with     20          A Again, sir, every transaction is
21   the title insurance company and with lender's       21     different. I couldn't tell you one way or another
22   counsel about the release deeds; is that right?     22     if there is any common pattern.
23        A Sorry, I would have talked to -- if I        23          Q Well, when you were asked questions
24   had a call, it would have probably been with the    24     about it earlier today at this deposition, did it
                                                 Page 74                                                    Page 76
 1   title agent or there would have been an email. I       1   seem odd to you that there was such a difference
 2   don't know who you mean by lender's counsel, sir,      2   between them?
 3   because I was lender's --                              3        A I, I don't recall thinking it was odd at
 4        Q Did I say lenders? I meant borrowers?           4   all. I probably didn't even look at this, look at
 5        A Yeah. I may have had an email exchange          5   the differential, because I wouldn't be.
 6   with her about it, because ultimately it's the         6        Q And why wouldn't you be?
 7   borrower's obligation to produce satisfactory          7        A It's not my -- it's not my job.
 8   releases to the title company.                         8        Q And why is that?
 9        Q And just to be clear, you believe you           9        A Because it's not my job to satisfy the
10   had these conversations with the title insurance      10   title requirements. It's the borrower's job.
11   company and with the borrower's counsel, but you      11        Q Okay. And so in this particular
12   don't have a specific memory as you sit here right    12   instance, so long as the title insurance company
13   now of --                                             13   told you that the borrower had satisfied its
14        A Oh, no --                                      14   obligations, then your view was that your client
15        Q -- either conversation?                        15   was sufficiently protected; is that right?
16        A I don't. If there's not a conversation,        16        A Yes. That's my job is to make sure that
17   there was an email sent probably. It's probably in    17   I have a first mortgage lien and that I have
18   the record. I just don't have a specific              18   adequate title insurance policy.
19   recollection.                                         19        Q I believe those are all the questions I
20        Q Okay. And probably I should be using           20   have. I just need to double-check a few things.
21   the word communication instead of conversations.      21   Normally I would say why don't we go off the
22   Just so the record is clear, I just want to do        22   record, but I understand that would probably --
23   that.                                                 23   that might cause another kerfuffle, so I'm just
24           As you sit here now, you believe you          24   going to do it, and we can all watch me scroll
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                                                 Page 77                                                      Page 79
 1   through my notes.                                      1   I think Mr. Cohen, if I recall, but I can't.
 2       A Fine. Thank you.                                 2       Q And did your role in this deal at all
 3       MS. WINE: Excuse me, while he is doing that,       3   differ from what would be your role in a typical
 4   court reporter, could you read back the last           4   transaction of this kind?
 5   question and answer.                                   5       A No.
 6               (The record was read.)                     6       Q Was it your role to determine whether it
 7       MS. WINE: Thank you.                               7   was appropriate to issue the loans?
 8       MR. STEIN: Okay. I have confirmed I have no        8       A No.
 9   further questions at this time.                        9       Q Whose role was that?
10       MR. STERN: Anyone else have questions?            10       A It would be Bloomfield Capital's -- I am
11                  EXAMINATION                            11   sorry, BC57, I think.
12       By Ms. Qualls:                                    12       Q Who was the title company in this
13       Q Yes. This is Alyssa Qualls from the             13   transaction?
14   Securities and Exchange Commission. I have some       14       A There were two. There was the New York
15   questions.                                            15   agent, who engaged the Illinois agent.
16           Can you hear me all right?                    16       Q Okay. And who was the New York agent?
17       A Yes.                                            17       A I believe it's Lincoln -- I think it was
18       Q Hi, Ms. Bagchi. My name is Alyssa               18   Lincoln Services. I can't remember the exact name.
19   Qualls. I work with -- work for the U.S.              19   It had the word Lincoln in it.
20   Securities and Exchange Commission.                   20       Q Lincoln Land; is that right?
21           I understand you represented BC57 in          21       A Sounds about right, yeah.
22   this deal; is that right?                             22       Q Okay. And so let's take that entity
23       A Yes.                                            23   first. What was Lincoln Land's role?
24       Q Okay. And you were an attorney at               24       A Candidly I don't really know. It was
                                                 Page 78                                                      Page 80
 1   Honigman then?                                       1     just the preferred agent that BC57 liked to use at
 2        A Yes.                                          2     that time, but because they were not authorized to
 3        Q Okay. As a counsel for BC57, who was          3     issue paper, I'm guessing, in Illinois, they had to
 4   the lender, what was your role?                      4     bring in a local.
 5        A My role was to document the new loan          5         Q And who was the local?
 6   transaction and to satisfy -- make sure that the     6         A Based on the pol -- the exhibits I saw
 7   borrower satisfied the title insurance               7     earlier, it looked like it was some First American
 8   requirements, we discharged the mortgages and we 8         agent, entity, but I don't remember the exact
 9   put a new first mortgage lien on the property.       9     name.
10        Q Okay. And what did you specifically do       10         Q Okay. Was it Near North Title?
11   in connection with that role?                       11         A Sounds about right, yeah.
12        A I drafted the loan documents, and then       12         Q Okay. So how -- who was the -- who were
13   reviewed the title insurance commitment, the        13     you engaged with primarily, someone from Near North
14   exceptions. Made sure that the borrower and the 14         or someone from Lincoln Land?
15   title company worked together to get the title      15         A I'm -- I can't recall exactly, but my
16   requirements satisfied per the title company's      16     guess would be it would be with Near North Title
17   requirements, and then we closed the loan.          17     since they were the one issuing the policy.
18        Q Okay. And what kind of due diligence         18         Q Okay. And I think you've testified that
19   were you as counsel supposed to engage in for this 19      so long as they didn't have a problem with issuing
20   loan?                                               20     the policy, you didn't scrutinize what they were
21        A Review title and survey, and then review     21     doing, is that -- is that your testimony?
22   the operating agreement for the borrower entity,    22         A I think my testimony was that if they
23   the new borrower entity, and do UCC searches, and23        were satisfied with the requirements, then that was
24   litigation searches against the borrower entity and 24     -- yeah. I wouldn't scrutinize. If they were
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                                                   Page 81                                                    Page 83
 1   satisfied, then I would be moving on. I wouldn't         1       A I don't know. It's not mine.
 2   be looking at it.                                        2       Q Okay. And what, if anything, did you do
 3        Q Okay. And did you -- I think you said             3   to make sure EquityBuild Finance had the authority
 4   before, though, that one of your responsibilities        4   to release the mortgages on behalf of the
 5   was to ensure that there was a release of the first      5   investors?
 6   mortgage; is that the case?                              6       A That's not my job to look into the
 7        A It's my job to make sure I have a first           7   authority of the existing lender. As to whether or
 8   mortgage lien, yeah.                                     8   not --
 9        Q And the first -- and to have a first              9       Q Whose job is that?
10   mortgage lien you have to have the underly -- the       10           Sorry, I didn't mean to cut you off?
11   underlying mortgage released; is that right?            11       A Fine. It would be the title
12        A It is, but it doesn't get sent to me.            12   company's.
13   It has to get sent to the title company because         13       Q And as between someone at Near North or
14   they have to approve it.                                14   Lincoln Land, whose -- whose responsibility would
15        Q Okay. So well who -- what, if anything,          15   it be?
16   did you do to make sure that the mortgages were         16       A You would have to ask them.
17   properly released by the investors?                     17       Q Okay. All right. No further questions.
18        A I have to -- I have to go by what the            18   Okay.
19   title company requires. That's what lender's            19       MR. STEIN: Does anybody else have any
20   counsel do. They look at the title company              20   questions they want to ask?
21   commitment. They look at the requirements. And as       21           Hearing none, I do have one follow up --
22   long as the title company is happy with the release     22   one clarification I wanted to follow up, if I
23   form, then we move ahead.                               23   might, Ms. Bagchi.
24        Q Okay.                                            24
                                                   Page 82                                                    Page 84
 1        A So I make sure that the borrower              1                  FURTHER EXAMINATION
 2   deposits the forms; that the title company is happy 2           By Mr. Stein:
 3   with it. I think in this instance there was an       3          Q You've been asked a lot of questions
 4   email that suggests that I had a question. I         4       about the release deed and the form of it and I
 5   don't -- about the form, but I didn't see the final  5       believe I heard you in the last set of questions
 6   form, which isn't unusual. The title company said    6       say that you believed that there was an email that
 7   they were satisfied with the forms, otherwise we     7       you sent regarding the release deed and asking
 8   wouldn't have closed.                                8       questions about it.
 9        Q Okay. So other than ensuring that the         9               Did I hear that correctly?
10   title company was happy with the forms, you didn't 10           A I thought -- I thought I saw it in your
11   do anything in particular to ensure that the forms 11        exhibits.
12   were correct or proper?                             12          Q Oh, okay. Hang on one second. So
13        A It wouldn't be my job to do that part,       13       you're referring to -- I'm sorry, let me start
14   no.                                                 14       over.
15        Q Okay. And what, if anything, did you do      15               You believe that there is such an email,
16   to make sure investors were paid in connection with16        because you think you saw one when the exhibits
17   the release of the mortgages?                       17       were being shared with you earlier in the
18        A I wouldn't do anything about it. The         18       deposition; is that right?
19   payoff letter went -- was accepted by the title     19          A I thought I saw one, correct, yeah.
20   company. The wire went as it was instructed to.     20          Q Okay. So I think -- hang on.
21   It's not my job to protect the investors of an      21               So Ms. Bagchi, I'm showing you now an
22   existing lender.                                    22       email thread that begins on page 45 of Exhibit 1.
23        Q Okay. And that's -- whose job is             23       This is an email that you sent on September 18,
24   that?                                               24       2017, with comments based on the new loan
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                                                    Page 85                                                    Page 87
 1   commitment; is that right?                                1   the borrower's stuff on it, emails with the
 2        A Yes.                                               2   borrower and the operating agreement it looks like.
 3        Q And I'm sorry, I said new loan                     3           I wonder if you know where the
 4   commitment. I believe I should have said new title        4   unexecuted releases were? I'm wondering --
 5   commitment; is that right?                                5       Q Okay. That makes sense.
 6        A Either is fine.                                    6       A -- it may have been attached around
 7        Q Okay. Thank you.                                   7   there, maybe.
 8            And then attached -- I'm going to scroll         8       Q Here we go. Is this it?
 9   through the email to give you a chance, and what          9       A No, because that's not it.
10   I'd like to ask you to do is just let us know what       10                (Reporter interruption.)
11   it is that you think you saw, if this is the right       11       MR. HART: Just for the record I'm seeing that
12   email, in the email that triggered your memories         12   screen now.
13   about sending an email regarding the release deeds.      13       MR. STEIN: Thank you for the update.
14            Does that make sense?                           14       MS. WINE: This is Jodi Wine. Max, I'm
15        A Sure.                                             15   wondering if page 6 is the email that the witness
16        Q So the first email at the top of the              16   is referring to.
17   screen now, you see that?                                17       THE WITNESS: It may have been earlier on --
18        A Uh-huh.                                           18       MR. STEIN: Thank you.
19        MR. HART: Max, are you sharing your screen          19       THE WITNESS: -- in the process. Thank you.
20   because I'm not seeing it.                               20   I just don't remember. No, that's not it either.
21        MR. STEIN: Oh, I am. Are others not seeing          21       By Mr. Stein:
22   it?                                                      22       Q I will say that so this does have
23        MR. STERN: I can see it.                            23   attached to it the release -- the unexecuted
24        MS. QUALLS: I can see it.                           24   release deed.
                                                    Page 86                                                    Page 88
 1       MR. GALE: I can see it.                        1              A Okay.
 2       By Mr. Stein:                                  2              Q Okay. But it's your --
 3       Q Okay. I'm going to keep scrolling and        3              A I'm sorry --
 4   you tell me when to stop or go back or go up.      4              Q -- testimony --
 5       A Yeah, I don't know where I saw it, but       5              A -- I thought I saw an email of that
 6   feel free to scroll and I'll see if I see it.      6          nature. I just can't figure out where it is now,
 7       Q And then this was the attachment to that     7          but. I thought there was an email questioning
 8   email and your comments on the title commitment. 8            whether Mr. Cohen -- why Mr. Cohen signed
 9       A Yeah. You can speed through those pages 9               individually or not. I thought that was the email
10   if you wanted to.                                 10          that might have had that in there.
11       Q Okay. Thank you.                            11              Q That is, I believe you -- first, sorry.
12       A I'm just trying to.                         12          Thank you, that's helpful.
13       Q Then the mortgages.                         13                  I believe that this is the email that
14       A Oh, can you slow down because I think       14          you were just referring to where you asked the
15   you started back on the emails.                   15          question about why Mr. Cohen was signing
16       Q Yes.                                        16          individually and noting that the releases needed to
17       A It looks like maybe go back to page 100     17          be signed by EquityBuild Finance, LLC.
18   on your exhibit page, right there. Okay.          18                  Do you see that?
19       Q I'm going to scroll down through this       19              A Yeah, maybe that was it, yeah. Yes. I
20   email.                                            20          think that may have been it.
21       A Yeah, if you don't mind.                    21              Q Thank you.
22       Q Of course.                                  22              A Uh-huh.
23       A I think it was an email that I saw that     23              Q Okay. Thank you for helping me better
24   was addressed just to the title company. This has 24          understand that.
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                                                    Page 89                                                                   Page 91
 1       A Yes.                                                1    think the deposition is completed.
 2       MR. STEIN: I have no further questions.               2            Thank you for your time, Ms. Bagchi.
 3       MS. QUALLS: This is Alyssa Qualls from the            3        THE WITNESS: You're welcome.
 4   SEC. Is it possible to jump in with a follow up?          4        MR. GALE: Before we all hang up, I do not
 5       THE WITNESS: Sure.                                    5    have any more questions for the witness, and thank
 6                FURTHER EXAMINATION                          6    you, ma'am, for taking all the time to talk with us
 7       By Ms. Qualls:                                        7    today.
 8       Q Sorry to do this.                                   8            This pdf that you, Max, and that Andrew
 9            I think you testified that it was -- one         9    kept referring to, and you, Max, were calling it
10   of your jobs was to determine whether BC57 had a         10    Exhibit 1, and you were calling out specific pages
11   first lien mortgage; is that right?                      11    throughout the pdf and that kind of thing, can you
12       A Yes.                                               12    email that to me, please, when we hang up, so that
13       Q So what steps did you take to make sure            13    I have it. It will make my life a lot easier.
14   that the prior first lien mortgage holder properly       14        MR. STEIN: In fact, what I will do -- it was
15   released the mortgage?                                   15    emailed to me. I will email it to everybody, but
16       A I feel like I answered that question.              16    also to the Group 1 email address.
17       Q Well, is it -- is it your testimony that           17        MR. GALE: Yeah, that will work. I think I'm
18   you relied on whether the title company was              18    on that. Yes, if it's not too much trouble for
19   satisfied?                                               19    you, Max, just add my name on it, in case for some
20       A I think I'd refer you back to my prior             20    reason, because you know how these things are
21   answer for the question you had last time, ma'am,        21    supposed to work and they don't always, so.
22   but I can't remember -- I mean, I can't remember         22        MR. STERN: We're going to reserve reading and
23   verbatim --                                              23    signing.
24       MR. STERN: Yes, we went over this numerous           24               DEPOSITION CONCLUDED
                                                    Page 90                                                                   Page 92
                                                               1         IN THE UNITED STATES DISTRICT COURT
 1   times in this deposition.
                                                                            NORTHERN DISTRICT OF ILLINOIS
 2       By Ms. Qualls:                                        2                EASTERN DIVISION
                                                               3   SEC,                     )
 3       Q All right. Well, how can -- how can you
                                                                                        )
 4   make sure that you have a first lien mortgage if          4              Plaintiff, )
                                                                                        )
 5   you don't know whether EquityBuild Finance had
                                                               5       vs.                )No. 18-cv-5587
 6   authority to release the investors' mortgages?                                     )
                                                               6   EQUITYBUILD, INC., et al., )
 7       A I am relying on the title company to an
                                                                                        )
 8   extent then, because I have to make sure they are         7              Defendants. )
                                                               8          I, KASTURI BAGCHI, being virtually first
 9   satisfied with the requirements, they can issue the
                                                                   duly sworn, on oath, say that I am the deponent in
10   policy and I can close.                                   9   the aforesaid deposition, and that I have read the
                                                                   foregoing transcript of my deposition, consisting
11       Q Okay. So from your standpoint, if the
                                                              10   of pages 1 through 94, inclusive, taken on
12   policy can be issued, you're satisfied. I think               October 25, 2021, at the aforesaid place and that
                                                              11   the foregoing is a true and correct transcript of
13   that's what you said before too?
                                                                   my testimony so given.
14       A (Nodding head.)                                    12
                                                              13              _______corrections were made
15       MR. STEIN: The witness -- just for the
                                                              14              _______no corrections were made
16   record, the witness nodded her head.                     15
                                                              16              ________________________________
17       THE WITNESS: Yes. I'm sorry.
                                                                              KASTURI BAGCHI
18       MR. STEIN: So that was a yes, I believe, just        17
                                                              18 SUBSCRIBED AND SWORN TO
19   for the record?
                                                                 before me this _____ day
20       THE WITNESS: Yes. Yes.                               19 of ___________ A.D., 2021.
                                                              20
21       MS. QUALLS: Okay. Okay. Thank you.
                                                                 ____________________________
22       MR. STEIN: Does anybody else have any further        21 NOTARY PUBLIC
                                                              22
23   questions?
                                                              23
24           Going once, going twice. All right. I            24

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                                                  Page 93
 1 STATE OF ILLINOIS )
                 )SS:
 2 COUNTY OF W I L L )
 3        I, MARYBETH ROESSLER, a notary public
 4 within and for the County of Will and State of
 5 Illinois, do hereby certify that KASTURI BAGCHI
 6 virtually appeared before me on October 25, 2021,
 7 as a witness in a cause now pending and
 8 undetermined in the United States District Court,
 9 Northern District of Illinois, Eastern Division,
10 wherein SEC, is Plaintiff and EquityBuild, Inc.,
11 et al., are Defendants, No. 18-cv-5587
12        I further certify that the said KASTURI
13 BAGCHI was by me virtually first duly sworn to
14 testify to the truth, the whole truth and nothing
15 but the truth in the cause aforesaid before the
16 taking of her deposition; that the testimony given
17 was stenographically recorded in the presence of
18 said witness by me, and afterwards reduced to
19 typewriting, and that the foregoing is a true and
20 correct transcript of said testimony.
21        I further certify that there were
22 virtually present at the taking of this deposition
23 the aforementioned counsel.
24        I further certify that I am not counsel
                                                  Page 94
 1   for nor in any way related to any of the parties to
 2   this suit, nor am I in any way interested in the
 3   outcome thereof.
 4         IN TESTIMONY WHEREOF, I have hereunto set
 5   my hand and seal this 3rd day of November, 2021.
 6
 7
 8
                 _________________________
 9                NOTARY PUBLIC
                  WILL COUNTY, ILLINOIS
10                CSR NO. 084-002864
                  CSR Expires: May 31, 2023
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